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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

     UNITED STATES OF AMERICA

          v.                              Case No. 3:20-CR-86-TJC-JBT

     JORGE PEREZ, et al.,
             Defendants.

       DEFENDANTS JORGE AND RICARDO PEREZ’S1 ALTERNATIVE
        MOTION/MEMORANDUM FOR NEW TRIAL PURSUANT TO
                      FED.R.CRIM.P. 33(a)

         Defendants Jorge Perez and Ricardo Perez, by and through their counsel,

 pursuant to Fed.R.Crim.P. 33(a), alternatively move this Court to enter an order

 granting him a new trial on Counts One, Two, Three, Four, Five, Six and Eight of

 the superseding indictment for the following reasons:


         A. Juror Misconduct During Trial and Deliberations

         The following conduct by certain jurors tainted the jury’s deliberations,

 deprived the defendants of their Sixth Amendment right to an impartial jury, and

 entitles them to a new trial:




 1 Ricardo Perez filed a Rule 29 motion shortly after trial raising issues unique to the
 evidence against him. (Doc.786). His counsel, Richard Landes, did request an extension
 of time, which was granted, to supplement his motion for JOA and to file a Rule 33
 motion. However, Mr. Landes was recently hospitalized with a significant health
 problem where he remains. Defendant, Ricardo Perez joins this motion with the
 approval of his attorney. At his direction, Mr. Landes’s signature appears on this
 motion. AUSA Tysen Duva has been informed of this joinder and has no objection.
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       In a post-trial interview, Juror No. 10 reported his/her personal

 observation of the following juror misconduct: During the trial, he/she walked

 into the jury room and heard part of a discussion between two other jurors whom

 she declined to identify. One of those jurors told the other that his wife had

 googled Jorge Perez and learned that he had been associated with 16 or 17 other

 hospitals. Those two jurors then stopped talking when they noticed Juror No. 10

 had entered the room.

       In a post-trial interview with Juror No. 29, he/she reported that during

 deliberations, one or two other unidentified jurors stated that Jorge Perez had

 been connected with 16 or 17 other hospitals.

       These reports establish that grave misconduct took place during the trial

 and deliberations in these respects:            (a) at least one juror had private

 communications with a third party during the trial by which extraneous

 prejudicial information was improperly brought to his attention (outside research

 by his wife2) in violation of the Court’s instructions; (b) at least one juror shared



 2
   Considerably more prejudicial information about Jorge Perez exists on the internet
 that could be -- and indeed may have been -- found by any Google researcher. For
 example, a certain Jorge Perez (but not this defendant) was convicted of possession of a
 firearm by a felon, possession with intent to distribute heroin, and possession with
 intent to distribute methamphetamine in this very court, and his convictions were
 affirmed by the Eleventh Circuit in an unpublished opinion on March 13, 2019 (US v.
 Perez, No. 18-10634, Non-Argument Calendar (11th Cir. Mar. 13, 2019). Nothing in that
 opinion suggests the defendant there was, in fact, one and the same as this defendant.
 And a certain Jorge A. Perez (not this defendant) unsuccessfully appealed the denial of
 his 28 U.S.C. §2255 claim in connection with a conviction in the Southern District of
 Florida for an undisclosed criminal offense in 2007 (Perez v. United States, No. 07-11171
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 that extraneous information with at least one other juror, in violation of the

 Court’s specific instructions; c) during deliberations, at least one juror shared

 that extraneous information with other jurors, in violation of the Court’s specific

 instructions; and (d) at least two jurors discussed the case and evidence between

 themselves before retiring to deliberate, in violation of the Court’s specific

 instructions.

       It is vital “that the jury should pass upon the case free from external causes

 tending to disturb the exercise of deliberate and unbiased judgment. Nor can any

 ground of suspicion that the administration of justice has been interfered with be

 tolerated.... Private communications, possibly prejudicial between jurors and

 third persons ... are absolutely forbidden and invalidate the verdict at least unless

 their harmlessness is made to appear.” Mattox v. U.S., 146 U.S. 140, 149-50, 13

 S.Ct. 50, 53 (1892). More recently, in Remmer v. U.S., 347 U.S. 227, 229, 74 S.Ct.

 450, 451 (1954), the Court noted:

       In a criminal case, any private communication [or] contact . . .
       directly or indirectly, with the juror during a trial about the matter
       pending before the jury is, for obvious reasons, deemed
       presumptively prejudicial, if not made in pursuance of known rules
       of the court and the instructions and directions of the court made
       during the trial, with full knowledge of the parties. [Emphasis
       added.]




 Non-Argument Calendar (11th Cir. May 16, 2008). There are other criminal cases
 involving persons having the same name.

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       Defendants have presented specific, detailed and credible prima facie

 evidence drawn from the court-approved interviews undertaken by defense

 counsel that the jury deliberations and the verdicts were improperly tainted by

 the conduct described herein. “As a matter of established law, the burden of

 proving prejudice does not lie with the defendant because prejudice is presumed

 the moment the defendant establishes that ‘extrinsic contact with the jury in fact

 occurred.’” U.S. v. Martinez, 14 F.3d 543, 550 (11th Cir. 1994) (quoting U.S. v.

 Caporale, 806 F.2d 1487, 1503 (11th Cir. 1986)).

       When a defendant has shown extrinsic contact, “the burden shifts to the

 government to demonstrate that the consideration of the evidence was harmless.”

 Martinez, F.3d at 550. That presumption is not conclusive, “but the burden rests

 heavily upon the government to establish, after notice to the defendant, that such

 contact with the jury was harmless to the defendant.” Id. (quoting Remmer, U.S.

 at 229, S.Ct. at 451). “The jury’s consideration of extrinsic evidence requires a

 new trial ‘if the evidence poses a reasonable possibility of prejudice to the

 defendant.’” U.S. v. Pessefall, 27 F.3d 511, 516 (11th Cir. 1994) (quoting U.S. v.

 Awan, 966 F.2d 1415, 1432 (11th Cir. 1992)). “To rebut the presumption of

 prejudice, the government must show that the jurors’ consideration of extrinsic

 evidence was harmless to the defendant.” U.S. v. Ronda, 455 F.3d 1273, 1299

 (11th Cir. 2006) (citing Remmer, U.S. at 229, S.Ct. at 451).



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       Defendants respectfully request that the Court summon all members of the

 jury (and the wife of the particular juror who received her research) for an

 inquiry into these matters so as to develop and determine the nature and extent

 of the extrinsic contact between one juror and his wife, and between that juror

 and another, and whether the information obtained by the first juror gleaned

 from the research by his wife was further disclosed to the whole jury during

 deliberations, and the manner in which the information reached the jury. In

 situations of this kind, a defendant is entitled to a post-trial hearing. Dennis v.

 U.S., 339 U.S. 162, 167, 171-2, 70 S.Ct. 519, 521, 523 (1950) (convicted of

 contempt of Congress, defendant who alleged the jury was composed primarily of

 U.S. government employees was “free to show the existence of actual bias”;

 “Preservation of the opportunity to prove actual bias is a guarantee of a

 defendant’s right to an impartial jury”). The district court has broad discretion as

 to how to proceed at such hearing, “including discretion to interrogate the

 jurors.” U.S. v. Hernandez, 921 F.2d 1569, 1577 (11th Cir. 1991). A duty to

 investigate arises “when the party alleging misconduct makes an adequate

 showing of extrinsic influence to overcome the presumption of jury impartiality.”

 U.S. v. Cuthel, 903 F.2d 1381, 1383 (11th Cir. 1990) (citation omitted). A post-

 trial hearing at which jurors are questioned is justified when a defendant shows

 “clear, strong, substantial and incontrovertible evidence ... that a specific,



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 nonspeculative impropriety has occurred.”        Id.   Defendants have met that

 standard.


       B. Juror Bias as to Undisclosed Prior Jury Service

       During the same post-trial interview, Juror No. 10 revealed that another

 juror. Number 55, stated during the course of deliberations that she had been a

 juror in seven previous trials. This statement is inconsistent with her statements,

 under oath, during jury selection. This potential juror’s misconduct by

 concealment of material information as to which she was directly questioned,

 indicative of both dishonesty and bias, precluded the Court’s exploration of her

 impartiality, possible bias or prejudice. Had the information been disclosed

 (seven times a juror rather than one state and one federal), it would have formed

 the basis for a challenge for cause by defendant and/or assisted them in using

 their peremptory challenges more effectively, particularly where there is evidence

 that this same juror repeatedly discussed her prior experience as a former Blue

 Cross employee during deliberations.

       “Voir dire examination serves to protect the right to a jury capable and

 willing to decide the case solely on the evidence before it.” U.S. v. Carpa, 271 F.3d

 962, 966 (11th Cir. 2001) (citing McDonough Power Equip., Inc. v. Greenwood,

 464 U.S. 548, 553, 104 S.Ct. 845 (1984)). The goal of voir dire is to expose

 “possible biases, both known and unknown on the part of potential jurors.”

 McDonough, U.S. at 554, S.Ct. at 849. Carpa set out these controlling principles:
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       To obtain a new trial for juror misconduct during voir dire, a party
       must: 1) demonstrate that a juror failed to answer honestly a
       material question on voir dire, and then 2) show that a correct
       response would have provided a valid basis for a challenge for cause.
       * * * McDonough first “requires a determination of whether the
       juror’s answers were honest.” * * * Then, there must be a showing of
       bias that would disqualify the juror. * * * Bias may be shown either
       by express admission or by proof of specific facts showing such a
       close connection to the circumstances at hand that bias must be
       presumed. * * * A juror’s dishonesty is a strong indication of bias. * *
       * If a court determines there was actual bias, the juror’s inclusion in
       the petit jury is never harmless error.Id. at 967 (citations omitted).

       Silence under these circumstances -- when squarely asked a question in

 voir dire -- bespeaks dishonesty because it constitutes “an active and wholly

 unjustifiable failure to disclose” matters that “would evidence a distinct and

 undeniable bias toward one party” and warrant a challenge for cause. U.S. v.

 Ippolito, 313 F.Supp.2d 1310, 1316 (M.D. Fla. 2003), aff’d sub nom. U.S. v. Carpa,

 129 Fed.App’x 601 (11th Cir. 2005) (citing Williams v. Netherland, 181 F. Supp.

 2d 604, 613-4 (E.D. Va.), aff’d sub nom. Williams v. True, 39 Fed.App’x 830 (4th

 Cir. 2002)). Such silence can constitute “a material evasion that establishes bias.”

 Id.

       As to nondisclosure of her prior jury service, “it is essential that the

 defendant have accurate information concerning prior jury service” in order to

 exercise peremptory challenges, and counsel is entitled to develop some

 information in that regard. U.S. v. Price, 573 F.2d 356, 362 (5th Cir. 1978).

 Furthermore, “[i]f counsel can show specific evidence that the prior service


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 biased a particular juror, that juror will be excused for cause.” U.S. v. Jefferson,

 569 F.2d 260, 261 (5th Cir. 1978).

         But this juror’s intentional concealment of her prior jury service wholly

 prevented defendants from seeking such an inquiry and from later making a

 more informed decision on their peremptory challenges. Here, too, her silence

 was “a material evasion that establishes bias.” U.S. v. Ippolito, 313 F.Supp.2d at

 1316.

         Defendants request a hearing at which this juror is summoned and

 questioned her prior experience as a jury and a more through inquiry of her

 experiences at Blue Cross. Full disclosure of all of these plainly material matters

 was absolutely required, and that information would have assisted defendant in

 seeking to challenge her for cause or exclude her peremptorily. Dennis v. U.S.,

 339 U.S. at 167, 171-2, 70 S.Ct. at 521, 523 (defendant is “free to show the

 existence of actual bias”); Smith v. Phillips, 455 U.S. 209, 215-16, 102 S.Ct. 940,

 945 (1982) (“the remedy for allegations of juror partiality is a hearing in which

 the defendant has the opportunity to prove actual bias”).


         C. Weight of the Evidence

         Rule 33(a) provides that, on the defendant’s motion, the court may vacate a

 judgment and grant a new trial “if the interest of justice so requires.” Although

 motions for a new trial are disfavored (U.S. v. Martinez, 763 F.2d 1297, 1313 (11th

 Cir. 1985)), the “interest of justice” standard is broad, and the trial court is vested
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 with substantial discretion in determining whether to grant such a motion. Id. at

 1312. When a defendant challenges the weight of the evidence in a motion for a

 new trial, the court “need not view the evidence in the light most favorable to the

 verdict” and “[i]t may weigh the evidence and consider the credibility of

 witnesses.” Id. “The court may not reweigh the evidence and set aside the verdict

 simply because it feels some other result would be more reasonable.” Id. at 1312-

 3. For a court to set aside the verdict, “[t]he evidence must preponderate heavily

 against the verdict, such that it would be a miscarriage of justice to let the verdict

 stand.” Id. at 1313.


       1. New Trial as to Count One

       Jorge and Ricardo Perez have met that standard to overturn the verdicts as

 against the weight of the evidence. Their motion for judgment of acquittal set out

 in detail the glaring inadequacies in the government’s evidence as to Count One

 (conspiracy to commit health care and/or wire fraud), as well as the resulting

 legal infirmities of the remaining six counts which were dependent upon the

 sufficiency of Count One. (Doc. 821).         Defendants adopt and incorporate by

 reference all of the facts, authorities and rationales in the JOA motion as though

 fully set out herein. To summarize:

       (a)   The government’s allegation that Mr. Perez knowingly and falsely

 represented that the laboratory testing was performed at the rural hospitals when

 they were not was unsupported in every respect. The electronic form (the UB04)
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  used by the billing company to initiate a claim lacked any field to identify the

  location of the lab testing.    The form nowhere required or requested that

  information. See Kongstvedt, Vol. XV, pp. 195, 203-4. Defendant was never

  asked to identify the place of testing, and he never did, nor did the billing

  company. Every exhibit showing a UB04 reflected the format of the UB04 (Doc

  809-3). The documentary evidence prevails over any contrary testimony, and yet

  nearly all the testimony from government witnesses further confirmed this fact.

        The second element for conviction -- that Mr. Perez knew his supposed

  representations were false -- is completely unsupported. To the extent that the

  lab location made any difference to Florida Blue, the Medicare Claims Processing

  Manual (Doc. 817- 57) expressly permitted defendant to submit a claim where the

  testing actually occurred at reference labs chosen by the rural billing hospitals, in

  keeping with Chap. 15, sec. 40.1 thereof.       Dr. Kongstvedt’s testimony about

  standard billing practices in the industry was irrelevant and flawed because it was

  based on his mistaken idea that the provisions in the Blue Cross Colorado

  contract and manual as to pass-through billing were the same as those in

  Missouri, Georgia and Florida.      The email chains (817-35C and 84) proved

  otherwise. Billing for testing done in reference labs was not prohibited in these

  venues.   And as far as Anthem/Right Choice Missouri was concerned, CMS

  guidelines trumped any conflicting policy of the insurer (Grayson, Vol. X, pp.



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  182-3). Again, the written documents and authorities overcome testimony or

  circumstantial evidence or inferences as to defendant’s state of mind.

         (b)     The government’s allegation that Mr. Perez knowingly and falsely

  represented that the persons supplying urine samples for testing were in-patients

  or out-patients of the rural hospitals when they were not was completely

  unsupported. In every UB04 claim sent out, the code “141” had been put in the

  “Type of Bill” field (Kongstvedt, Vol. XV, p. 142). The “141” entry signifies a non-

  patient (Tobin, Vol. II, pp. 172, 175-7; Kongstvedt, Vol. XV, pp. 137, 142).    The

  government never produced any claims data that contained something other than

  “141” (id.).

         As the UB04 claims made their way from the independent billing company

  to a clearinghouse and then ultimately to insurers, other actors added or deleted

  information that the billing company had supplied. Notably, a “22” entry for

  “Place of Service” was put into the data by the insurance companies themselves

  (Tobin, Vol. II, pp. 177-8, 208; Kongstvedt, Vol. XV, pp. 156-7, 195).          The

  government conceded that the “22” code was never submitted by any defendant,

  including Mr. Perez. Significantly, the government never presented evidence of

  the original versions of the documents or raw data that the billing company and

  the hospitals actually sent to the clearinghouses, or even the versions sent out by

  the clearinghouses. It only utilized the spreadsheets containing the final version

  of the data after the additions and alterations by others involved in the handling

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  of the claims -- including “information that was put in there by the payer

  company itself ... information that wouldn’t be on the claim.” Kongstvedt, Vol.

  XV, pp. 156-7; see also, Tobin, Vol. II, pp. 208-11. The government attempted to

  pass off these final versions as the fraudulent representations of the defendant.

        The government produced no evidence that Mr. Perez knew the UB04

  information was being altered along the claims-handling process. No inference

  that he directed, allowed, or suffered these alterations and additions to be made

  can reasonably be drawn from the record to establish his deliberate indifference

  to the changes or an intent to defraud.

        (c)   The government’s allegation that Mr. Perez knowingly and falsely

  represented that the urine testing was “medically necessary” when it was not, was

  likewise lacking any supporting evidence. The urine testing was ordered by

  hundreds of doctors around the country. Mr. Perez was not shown to have

  contacted or communicated with any of those ordering doctors or others

  authorized to order the tests, or with their patients. No evidence indicated he

  exercised control or influence over any of them.

        The opinion of Dr. Waller, based upon a statistical analysis of the number

  and timing of the tests ordered, was that the ordering physicians failed to meet

  some undefined standard of care in their own medical practices. On the factual

  basis from which Dr. Waller began, he did not, and could not opine that Mr.

  Perez somehow caused or contributed to cause the negligent or reckless conduct

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  of those doctors who were the objects of his criticism. And without examining

  the medical records in each case that he found suspicious so that he could

  understand each doctor’s assessment of each patient and why the doctor decided

  to order testing, Dr. Waller could not reasonably have inferred that any such

  testing was not medically necessary.           That would be a wholly uninformed

  opinion.    This Court acknowledged the serious shortcomings in Dr. Waller’s

  testimony by giving its limiting instruction to the jury.

        Mr. Perez reasonably and properly relied on the medical determinations of

  trained and skilled physicians. The government presented no evidence that he

  knew any test was, in fact, unnecessary or that he willfully submitted false claims

  in connection with them. Assuming arguendo that Dr. Waller’s testimony had

  any probative value on these issues, it was greatly outweighed by all the other

  evidence.

        Here, too, no evidence was presented that defendants knew or could have

  known, or had any duty to investigate, whether the testing ordered by physicians

  was, in fact, medically unnecessary for those particular patients. No criminal

  intent was demonstrated or could reasonably be inferred from the circumstances.

        (d)   The government’s allegation that Mr. Perez knowingly and falsely

  represented that the claims submitted complied with the terms of the health care

  plans was unsupported.         Substantial, probative evidence supported the

  defendant’s good-faith interpretation of the contract terms and its silence as to

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  certain matters, with ambiguities to be construed in his favor, and that he had

  broad latitude to submit the claims for payment in the manner that was actually

  done. The email chain between Heather Burch and James Balcom in February

  2017 (Doc. 817-35C) reflects her view that the existing contract with Putnam

  County Memorial Hospital did not prohibit pass-through billing. Burch intended

  to negotiate a new contract that did. Burch, Vol. XV, pp. 278, 283-4. A simple

  contract dispute, regardless of the amount of money at stake, should not give rise

  to a criminal prosecution.

        The credible evidence (testimonial and particularly documentary) and

  reasonable inferences to be drawn from it, as well as the dearth of the

  government’s evidentiary showing on crucial matters including Mr. Perez’s

  alleged intent to defraud, preponderate heavily against the verdicts.         In the

  interest of justice, a new trial should be ordered.


        2. New Trial as to Remaining Counts

         Because the convictions for conspiracy to commit health care and wire

  fraud (Count One), substantive health care fraud counts (Counts Two-Six) and

  conspiracy to commit money laundering (Count Eight) all hinge upon the

  conviction for conspiracy to commit health care and wire fraud (Count One), then

  granting a new trial as to the latter necessarily requires that the other convictions

  be vacated and a new trial order as to the former counts as well.


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        D. Admission of Improper Evidence

        (1) The Court erred in allowing the government to present evidence in the

  form of the Claim Spreadsheets. Those exhibits were prepared by the private

  insurers in anticipation of litigation and provided by them to assist the

  government in its case against Mr. Perez and the other defendants. The data

  reflected in them was admitted by witnesses to be both incomplete and

  inaccurate, and no comparison was made between what was included in them

  and the original UB04s/837Is. See Tobin, Vol. II, pp. 208-11; Bobbitt, Vol. X, p.

  236; Balcom, Vol. XI, p. 84; Kongstvedt, Vol. XV, pp. 156-7.       The insurers

  themselves added the “22” designation, not defendant or the independent billing

  company.    See Tobin, Vol. II, pp. 177-8, 208; Bobbitt, Vol. X, pp. 220-3;

  Kongstvedt, Vol. XV, pp. 156-7, 195.

        The identity of the person(s) who created the spreadsheets or are

  responsible for their creation -- believed to be employees of the insurers -- was

  never disclosed at trial, nor did the government inform defense counsel of the

  identities. The underlying data on which the spreadsheets were fashioned (the

  UB04s and 837Is) were not provided to the government by the insurers. Tobin,

  Vol. II, pp. 208-9; Bobbitt, Vol. X, pp. 208-12; Balcom, Vol. XI, p. 84.

  Consequently, defendants were unable to examine and compare the underlying

  data from the time it was sent out by the clearinghouses (to another

  clearinghouse or the private insurers). Id. The insurers have had this

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  information, or the means to obtain it, for some six years; the government has

  had the right of access almost as long. Bobbitt, Vol. X, pp. 208-12.

        Fundamentally, none of the transmissions of information about the urine

  testing constitutes a statement by Jorge Perez. Rather, other persons conveyed

  that information electronically (i.e., a statement) to the independent billing

  company, which then completed the UB04/837I form and transmitted it (another

  statement) to a clearinghouse, which then altered some of that information and

  transmitted it (yet another statement) either (i) to the insurance company or (ii)

  to another clearinghouse which again altered the data and transmitted it (another

  statement) to the insurance company. The insurance companies added some

  data (the “22” code, for example) and deleted some data. This version amounts

  to each insurer’s own statement. See, e.g., Bobbitt, Vol. X, pp. 205-7; Salazar,

  Vol. XVI, p. 252. Then, years later, the insurers created these spreadsheets -- a

  final statement -- for the government’s convenience for use at trial.

        At each step in the claims adjudication process, one or more speakers has

  made a statement about these claims that the government has attempted to

  attribute to Mr. Perez. Because the spreadsheets were altered in substance along

  the way and used by the government during trial in an effort to prove his criminal

  conduct, they were “testimonial statements” within the meaning of the




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  Confrontation Clause,3 and therefore defendant had the right to confront at trial

  each person who made a statement in this process, or else to have been afforded

  an opportunity to cross-examine each of them before trial.                Crawford v.

  Washington, 541 U.S. 36, 55-60, 124 S.Ct. 1354, 1366-69 (2004).                    The

  Constitution absolutely requires this:          “Testimonial statements of witnesses

  absent from trial [may be] admitted only where the declarant is unavailable, and

  only where the defendant has had a prior opportunity to cross-examine.” U.S. at

  59, 68; S.Ct. at 1369, 1374.

        The Crawford Court squarely rejected the contention that testimonial

  statements are admissible if they fall within an exception to the hearsay rule

  (such as business records) and are “reliable”:

        Where testimonial statements are involved, we do not think the
        Framers meant to leave the Sixth Amendment’s protection to the
        vagaries of the rules of evidence, much less to amorphous notions of
        “reliability.” ... Admitting statements deemed reliable by a judge is
        fundamentally at odds with the right of confrontation. To be sure,
        the Clause’s ultimate goal is to ensure reliability of evidence, but it is
        a procedural rather than a substantive guarantee. It commands, not
        that evidence be reliable, but that reliability be assessed in a
        particular manner: by testing in the crucible of cross-examination.
        The Clause thus reflects a judgment, not only about the desirability


  3 U.S. v. Clotaire, 963 F.3d 1288, 1294 (11th Cir. 2020), addresses the difference
  between testimonial and non-testimonial computer-generated statements. The former
  includes those where, first, the communicative content has been changed, and second,
  some “human discretion or judgment” has been exercised in making the change. It also
  distinguished between “authentication” and “creation” of a record containing a
  statement: “a clerk could not create a record for the sole purpose of providing evidence
  against a defendant, but could, with an affidavit, authenticate an otherwise admissible
  record.” Id. at 1296.
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        of reliable evidence (a point on which there could be little dissent),
        but about how reliability can best be determined....

        Dispensing with confrontation because testimony is obviously
        reliable is akin to dispensing with jury trial because a defendant is
        obviously guilty.      This is not what the Sixth Amendment
        prescribes....

        Reliability is an amorphous, if not entirely subjective, concept.
        There are countless factors bearing on whether a statement is
        reliable.... Whether a statement is deemed reliable depends heavily
        on which factors the judge considers and how much weight he
        accords each of them. Some courts wind up attaching the same
        significance to opposite facts.

  U.S. at 61-3; S.Ct. at 1370-1.

        Prior to trial, Defendant Durall sought to exclude these spreadsheets on the

  ground that their admission violated the Confrontation Clause (Doc. 450, pp. 1-2,

  3-4, filed December 1, 2021), citing Crawford. That was overruled prior to trial,

  but the motion was raised again during the trial (with counsel for the Perez’s

  joining) and denied again on the grounds that the spreadsheets were properly

  authenticated business records and “the defendants have [not] made any showing

  to me of indicating a lack of trustworthiness” (Vol. II, pp. 72-3).     Crawford

  teaches that those grounds were erroneous.

        In addition to the Confrontation Clause ground, defendant contends that

  the spreadsheets were improperly admitted because they were hearsay not

  subject to any exception (F.R.E. 802, 803); were admittedly incomplete and

  altered by the clearinghouses and the private insurers and thus were inaccurate,

  unreliable and not corroborated by comparison with the underlying records and
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  data (F.R.E. 807); were inadmissible as summary exhibits because the underlying

  records and data were never produced to defendants (F.R.E. 1006); were

  misleading and confusing to the jury, such that any probative value was greatly

  outweighed by the inherent dangers of admission (F.R.E. 403); and were unduly

  prejudicial because defendant was unable to compare the spreadsheets with the

  underlying data for accuracy and completeness (F.R.E. 403).

        Defendants adopt and incorporate by reference as though fully set out the

  statement of facts, grounds for exclusion, argument and authorities contained in

  Defendant Fletcher’s Motion for Hearing to Determine the Admissibility of

  Evidence filed December 1, 2021 (Doc. 448), and those contained in Defendant

  Durall’s Motion to Bar Admission of the “Claim Spreadsheets” filed December 1,

  2021 (Doc. 450).

        (2) The Court erred in admitting the Mark Thomas letter (Doc. 817-69)

  without redactions. The Court erred in allowing the jury to view the unredacted

  version of the Mark Thomas letter while the witness was being cross-examined by

  the government attorney. The exhibit was irrelevant to all defendants except two

  (the Porter defendants), but its content was highly inflammatory and prejudicial.

  The Court’s limiting instructions were insufficient to remove the prejudice and a

  mistrial should have been granted as defense counsel requested. A mistrial

  should now be declared, together with a finding that it is compelled by the

  government’s presentation, questioning and publishing the letter to the jury and

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  consequently defendants may not again be placed in jeopardy for the alleged

  criminal activity under the Fifth Amendment. In the alternative, a new trial is an

  appropriate remedy.

         Shortly after the jury was seated at 2:34 p.m. (Vol. XVII, p. 187), the

  unredacted exhibit was received into evidence and the Court explained (pp. 188-

  9):

        I am admitting this exhibit, Government Exhibit 69, which is a letter
        expressing Mr. Thomas’s legal opinions as it bears only on the case
        involving James S. Porter, and Sean Porter, and not as to any other
        defendant.

  Although page 2 contains the heading “APPLICABLE LAW” the Court declined

  defendants’ request to advise the jury further that the legal opinions Mr. Thomas

  expressed, in his letter and in his testimony, were not to be considered the law

  applicable to any defendant and that only the Court’s instructions could be

  considered proper and applicable to assist the jury in reaching their verdicts (id.

  pp. 180-2, 184-5).

        Thereafter parts of the letter were shown on the ELMO device (id. p.189).

  Several pages were displayed, including at least pages 1, 2, 3 and 4 (id. pp. 189,

  195, 201, 202, 203, 219), until the jury was excused for a break and exited at 2:58

  p.m. (id. p. 205). During that period, the jury was shown page 2 of the exhibit

  (id. p. 195). While the witness was questioned about some matters on that page,

  the jury was free to study other parts, particularly the beginning of a quotation of

  the Florida Anti-Kickback and Anti-Patient Brokering/Anti-Fee Splitting Law at
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  the bottom, as pointed out by Mr. Duva (id. p. 201). Page 3 of the exhibit was

  displayed which contains a lengthy quotation from the Florida statutory text

  while Mr. Duva asked, “This is a Florida statute we’re going to look at?” and if the

  citation was a “cut-and-paste job” (id. p. 201). He then reminded the jury the

  letter set out “actually the text of the Florida Anti-Kickback Statute” and that it

  applies to both “government insurance and private payers” (id. p. 202).            At

  approximately that point, page 4 of the exhibit was displayed to the jury. Mr.

  Duva quoted the paragraph following the text, that the Florida statute “prohibits

  the ‘brokering’ of patients or the ‘splitting’ of any professional fee in exchange for

  the referral of a patient for the provision of any good or service” and pointed out a

  footnote citing authority for that statement (id. p. 202).        Mr. Duva quoted

  another paragraph on that page, reading: “It is important to note that the Florida

  anti-kickback law is applicable to any payer, so a prohibited arrangement would

  be illegal regardless of whether the payer is a governmental entity or not” (id. p.

  202-3). Mr. Duva then attempted to elicit an opinion from the witness based on

  a hypothetical question, which drew an objection and a lengthy bench conference

  after the jury exited (id. pp. 203-25). But the jurors were free to read all of page 4

  of the Thomas letter until they left the courtroom (id. p. 219). At the bottom of

  that page below the heading “2. Federal Law” are three lines -- one full sentence

  with a footnote at the end of it and an incomplete second sentence:

        Federal law prohibits any entity from intentionally paying or
        receiving any form of financial benefit in exchange for services that
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        might be paid for by the government. * If only one purpose of the
        payment at issue is to induce patient
        [*The footnote cited 42 USC § 1320a-7b(b); 42 CFR § 1001.951.]

        The jury had been told to expect a 10-minute break at 2:58 (id. p. 205)

  while the issue was sorted out, but they were not permitted to return for nearly

  an hour, at 3:50 (id. p. 225). Then the jury saw that the original letter had been

  replaced with a heavily redacted version that excluded some portions the jurors

  had already seen and heard about, and over four more pages they had not viewed

  (id. p. 226). To suggest their curiosity had not been piqued by the questioning

  and handling of the exhibit is to deny human nature. In fact, as proof that the

  letter’s content was significant and had an explosive impact, in his post-trial

  interview with Mr. Duva, the juror “viewed Mr. Thomas’ late-breaking letter as

  another light bulb moment (he called it an ‘oh, s**t!’ moment in the trial).” (Doc.

  805) Other jurors may have shared that reaction and in their deliberations may

  have discussed at length the letter’s content, the irrelevant state and federal

  statutes they had seen, and speculated about parts they were not allowed to see or

  hear about.

        The letter in its entirety contained information that was not probative of

  any of the charges against Jorge Perez and Ricardo Perez (notably the so-called

  kickback issue, the Florida anti-kickback statute, the Florida anti-patient

  brokering and anti-fee splitting statute that the government knew were not

  germane) and was highly inflammatory and unduly prejudicial to them. The

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  Court itself noted that, coupled with Mr. Duva’s questions, the risk of urging the

  jury to consider uncharged crimes and juror confusion was real and present (id.

  pp. 203-4, 207, 213-4), and that much of the letter was not relevant (id. pp. 213-

  5).

        When the jury was again seated, the Court gave this instruction

  withdrawing some of the evidence and issues that had been improperly presented

  (id. pp. 225-6):

        Before we broke, you heard brief testimony and had displayed
        Florida statutes regarding, “brokering” and “anti-kickback” laws.
        Those laws are not relevant to your consideration, and I instruct you
        to disregard that testimony and the display that was put up on -- on
        the screen there.

         The jurors’ perception of the information and its importance is the

  paramount focus, though the actual impact cannot be fully determined. Defense

  counsel articulated the dire consequences (id. pp. 207-9, 217-8). The Court’s

  confidence that this evidence was not unduly prejudicial considering the

  “mountains of testimony” (id. p. 218), that the testimony was “too fleeting,” that

  the jury’s “sensitivity to it” was not significant, and that it was not fundamentally

  unfair or “prejudicial enough to warrant ... a mistrial” (id. p. 221) was misplaced.

  No actual evidence establishes the jury’s lack of confusion of the issues or justifies

  the belief or faith in the jury’s ability to follow its instructions and not consider

  the withdrawn evidence. After all, the jury only convicted two defendants as to

  whom the content of the letter and the cross-examination of Thomas was

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  immaterial. And the juror who telephoned Mr. Duva was greatly impressed by

  the exhibit and presumably the citations to irrelevant law, notwithstanding the

  Court’s instruction. The Court should have taken stronger measures to protect

  the fairness of the trial.

         Although appellate courts routinely defer to a trial court’s calculation as to

  the harmful effects of improper evidence and frequently pronounce that juror are

  presumed to follow limiting instructions and those that withdraw issues and

  evidence, that approach should not be applied here. Jurors are also instructed

  not to conduct outside research, and not to discuss the trial or evidence with

  other jurors before they begin deliberations, and not to discuss those things with

  third parties, and not to consider extrinsic evidence or matters extraneous to the

  evidence presented during the trial. They are also instructed to answer questions

  posed on voir dire fully and honestly, and they swear an oath to do so. But in this

  case, it strongly appears that at least three jurors disregarded and disobeyed

  those bedrock instructions. See sections A and B above.

         Under these circumstances, one cannot pretend that all of the jurors in this

  trial faithfully adhered to the Court’s limiting instructions as to Exhibit 69 when

  they violated earlier instructions. As the Eleventh Circuit has declared:

         The government contends that each juror assured the court that it
         [sic] could follow the court’s instructions and deliberate in a fair and
         impartial manner. In this case, such assurances are unavailing
         because ... the majority of the jury demonstrated an inability to
         follow the district court’s instructions. Although we assume that
         jurors follow the trial court’s instructions, in instances such as this,
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        where jurors demonstrate a willingness to disregard the court’s
        instructions, we are justifiably skeptical of the jurors’ ability to follow
        instructions in the future.

  U.S. v. Martinez, supra 14 F.3d at 551 (citing U.S. v. Heller, supra 785 F.2d at

  1526-8).

        The Court’s limiting instructions were inadequate to cure the prejudice

  resulting from the handling of Exhibit 69. A mistrial should be declared, together

  with a finding and determination that defendants may not be retried because of

  the government’s conduct. Alternatively, a new trial is warranted.

        WHEREFORE, defendants Jorge Perez and Ricardo Perez respectfully move for
  an order declaring a mistrial, attributable to the government’s conduct in presenting the
  unredacted Exhibit 69. The Court should find the defendants were placed in jeopardy
  and denied a fair trial by reason of the government’s action and cannot be subjected to a
  second trial. Alternatively, defendants respectfully move for an order granting each of
  them a new trial on Counts One, Two, Three, Four, Five, Six and Eight.

                                                  Respectfully submitted,


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                             CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on July 27, 2022, I electronically filed the
  foregoing with the clerk of the Court by using CM/ECF system which will send a
  notice of electronic filing to A. Tysen Duva, AUSA and all counsel of record.

                                              S:// Thomas M. Bell
                                              THOMAS M. BELL
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